
81 So.3d 522 (2012)
Jorge RUIZ, Appellant,
v.
STATE of Florida, Appellee.
No. 5D12-154.
District Court of Appeal of Florida, Fifth District.
February 7, 2012.
Rehearing and Rehearing En Banc Denied March 15, 2012.
Deana K. Marshall of Law Office of Deana K. Marshall, P.A., Riverview, for Appellant.
No Appearance for Appellee.
PER CURIAM.
AFFIRMED. See Flagg v. State, 74 So.3d 138 (Fla. 1st DCA 2011).
ORFINGER, C.J., MONACO and JACOBUS, JJ., concur.
